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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: UNASSIGNED

INSPIRED VENTURES, LLC         x              Court No. 24-00062
                               :
          Plaintiff,           :
                               :
          v.                   :              COMPLAINT
                               :
UNITED STATES,                 :
                               :
          Defendant.           :
______________________________ x

      Plaintiff, INSPIRED VENTURES, LLC, by its attorneys, Stein Shostak

Shostak Pollack & O'Hara, LLP, complains of Defendant, the United States, and

alleges as follows:

                                 JURISDICTION

      1.     This Court’s jurisdiction arises under 28 U.S.C. §1581(a), and this

action is filed within the time limits prescribed by 28 U.S.C. §2636(a)(1).

      2.     On February 9, 2024, through its attorneys, Plaintiff timely filed Protest

No. 2704-24-169327 at the Port of Los Angeles, California, contesting the decision

by U.S. Customs and Border Protection (CBP) to exclude Entry Nos. AVV-

0053438-1 and AVV-0053445-6 containing rubber tires.

      3.     On March 10, 2024, by operation of law, the protest was deemed

denied.
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      4.     On March 12, 2024, 2024, Plaintiff filed the instant summons.

      5.     All duties and taxes are paid.

      6.     The Court’s jurisdiction over all or part of the subject matter of this

action is based upon Plaintiff’s challenge to CBP’s decision to exclude the tires and

its decision to deny the protest challenging the exclusion decision.

                                      PARTIES

      7.     Plaintiff is a Wyoming limited liability corporation and is the

consignee, purchaser, and importer of the subject merchandise.

      8.     Defendant, United States, is the proper party for decisions taken by

CBP, a constituent agency of the U.S. Department of Homeland Security.

                                     STANDING

      9.     Plaintiff is the real party in interest and on this basis has standing to

bring this action.

      10.    Plaintiff’s claims are within the “zone of interests” of the underlying

statute, 19 U.S.C. §1514(a), which provides for judicial review of the exclusions of

merchandise from entry by CBP.

                           FACTUAL BACKGROUND

      11.    On November 28, 2023, Plaintiff entered Entry No. AVV-0053438-1

containing rubber tires for consumption. Customs rejected the entry and Plaintiff



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refiled the entry in proper form on January 8, 2024. Customs accepted the entry and

released the tires in its system that day.

       12.      On January 8, 2024, Plaintiff refiled Entry No. AVV-0053445-6

containing rubber tires in proper form for consumption. On January 8, Customs

accepted the entry and released the tires in its system the same day.

       13.      Notwithstanding Customs’ decision to accept the entries and release

both entries, Customs officers declined to authorize the physical release of the tires

to Plaintiff.

       14.      On February 7, 2024, pursuant to 19 USC §1499 Entry No. AVV-

0053445-6 and AVV-0053438-1 were deemed excluded by CBP by operation of

law.

       15.      On February 9, 2024, Plaintiff timely filed Protest No. 2704-24-169327

contesting CBP’s deemed exclusion of Entry Nos. AVV-0053438-1 and AVV-

0053445-6.

       16.      On March 10, 2024, 30 days after the protest was filed, Protest No.

2704-24-169327 was deemed denied.

       17.      On March 12, 2024, Plaintiff filed the instant summons requesting

precedence under Rules 3(g)(3) and 7 of the Rules of the Court of International

Trade.



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                                      COUNT I

                              Incorrect Exclusion Decision

                              Entry No. AVV-0053438-1

                                     Rubber Tires

      18.    Plaintiff repeats and incorporates paragraphs 1-17 by reference, as

though fully stated herein.

      19.    Although Plaintiff’s Entry No. AVV-0053438-1 was filed in proper

form and accepted by Customs, it failed to release the freight. By its refusal to release

the tires for delivery to Plaintiff, CBP incorrectly and without legal authority

excluded the rubber tires.

      20.    Because Customs accepted the entry and the importer deposited all

duties and taxes, this Court should order CBP to admit and release Plaintiff’s rubber

tires entered under Entry No. AVV-0053438-1.

                                      COUNT II

                              Incorrect Exclusion Decision

                              Entry No. AVV-0053445-6

                                     Rubber Tires

      21.    Plaintiff repeats and incorporates paragraphs 1-17 by reference, as

though fully stated herein.



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      22.    Although Plaintiff’s Entry No. AVV-0053438-1 was filed in proper

form and accepted by Customs, it failed to release the freight. By its refusal to release

the tires for delivery to Plaintiff, CBP incorrectly and without legal authority

excluded the rubber tires.

      23.    Because Customs accepted the entry and the importer deposited all

duties and taxes, this Court should order CBP to admit and release Plaintiff’s rubber

tires entered under Entry No. AVV-0053438-1.

                                        RELIEF

      24.    WHEREFORE, Plaintiff respectfully requests that this Court:

             (a)    Enter judgment in its favor; and order the government to

immediately admit and release Entry No. AVV-0053438-1; and

             (b)    Enter judgment in its favor; and order the government to

immediately admit and release Entry No. AVV-0053445-6; and

             (c)    Award costs, attorneys’ fees and other such relief as the court

deems equitable and just.

Dated: March 13, 2024                    Respectfully submitted,

                                  By:         /s/ Elon A Pollack
                                         Elon A. Pollack, Esq.
                                         Stein Shostak Shostak Pollack & O'Hara
                                         Attorneys for Plaintiff
                                         865 South Figueroa Street, Suite 1388
                                         Los Angeles, California 90017


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                                   Telephone: (213) 630-8888
                                   Fax: (213) 630-8890
                                   E-Mail: elon@steinshostak.com




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